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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 1:24-cv-20247-PCH

  ARANTZA CASTRO,

         Plaintiff,                                                       CLOSED
  v.
                                                                           CIVIL
  IKEA NORTH AMERICA SERVICES LLC,                                         CASE
  a Foreign Limited Liability Company,
  d/b/a IKEA,

        Defendant.
  ______________________________________/

            ORDER OF DISMISSAL WITH PREJUDICE AND CLOSING CASE

         THIS CAUSE is before the Court on the Plaintiff’s Notice of Voluntary Dismissal with

  Prejudice [ECF No. 10], filed on March 16, 2024. The Court has reviewed the Notice and is

  otherwise duly advised. Accordingly, it is

         ORDERED AND ADJUDGED that all of Plaintiff’s claims in this civil action are hereby

  DISMISSED WITH PREJUDICE. All pending motions in this civil action are thus DENIED

  as MOOT. And the clerk is directed to CLOSE this case.

         DONE AND ORDERED in Miami, Florida on March 18, 2024.




                                                        PAUL C. HUCK
                                                        UNITED STATES DISTRICT JUDGE


  cc: All Counsel of Record
